2:18-cv-02150-JES # 1   Page 1 of 9                               E-FILED
                                      Wednesday, 30 May, 2018 11:02:03 AM
                                             Clerk, U.S. District Court, ILCD
2:18-cv-02150-JES # 1   Page 2 of 9
2:18-cv-02150-JES # 1   Page 3 of 9
2:18-cv-02150-JES # 1   Page 4 of 9
2:18-cv-02150-JES # 1   Page 5 of 9
2:18-cv-02150-JES # 1   Page 6 of 9
2:18-cv-02150-JES # 1   Page 7 of 9
2:18-cv-02150-JES # 1   Page 8 of 9
2:18-cv-02150-JES # 1   Page 9 of 9
